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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

                             CASE NO. 1:18-cv-22922-MOORE/SIMONTON


  GERALDINE BUENAVENTURA,
  estate of BEN BUENAVENTURA,

         Plaintiff,

  v.

  NCL (BAHAMAS) LTD.,
  D-I DAVIT INTERNATIONAL, INC.,
  HATECKE SERVICE USA, LLC., and
  D-I DAVIT INTERNATIONAL-HISCHE
  GMBH,
        Defendants.
                              /

         PLAINTIFF’S NOTICE OF PARTIAL VOLUNTARY DISMISSAL
  WITHOUT PREJUDICE ONLY AS TO DEFENDANT HATECKE SERVICE USA, LCC.

         The Plaintiff, Geraldine Buenaventura, by and through undersigned counsel, hereby
  notices this Honorable Court of voluntarily dismissing, without prejudice, Plaintiff’s claims in the
  above-styled action against only one Defendant, HATECKE SERVICE USA, LLC. The Plaintiff’s
  claims against the remaining defendants remain pending.
                                                             LIPCON, MARGULIES,
                                                             ALSINA & WINKLEMAN, P.A.
                                                             Attorneys for Plaintiff
                                                             One Biscayne Tower, Suite 1776
                                                             2 South Biscayne Boulevard
                                                             Miami, Florida 33131
                                                             Telephone No.: (305) 373-3016
                                                             Facsimile No.: (305) 373-6204

                                                        By: /s/ Michael Winkleman
                                                            MICHAEL A. WINKLEMAN
                                                            Florida Bar No. 36719
                                                            MW@lipcon.com



             L I P C O N ,    M A R G U L I E S ,   A L S I N A   &   W I N K L E M A N ,   P . A .
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                                      CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on February 4, 2019, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on all counsel of record or pro se parties identified on the attached Service

  List in the manner specified, either via transmission of Notices of Electronic Filing generated by

  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

  to electronically receive Notices of Electronic Filing.


                                                        By: /s/ Michael Winkleman
                                                            MICHAEL WINKLEMAN

                                           SERVICE LIST
                               Buenaventura v. NCL (Bahamas) Ltd. et. al.
                                     case no.: 18-cv-22922-KMM

   Michael Winkleman, Esq.                                Jerry D. Hamilton, Esq.
   Florida Bar No.: 36719                                 Florida Bar No.: 970700
   mwinkleman@lipcon.com                                  jhamilton@hamiltonmillerlaw.com
   Carol L. Finklehoffe, Esq.                             Elisha M. Sullivan, Esq.
   Florida Bar No.: 0015903                               Florida Bar No.: 57559
   cfinklehoffe@lipcon.com                                esullivan@hamiltonmillerlaw.com
   LIPCON, MARGULIES,                                     150 S.E. 2nd Avenue, Suite 1200
   ALSINA & WINKLEMAN, P.A.                               Miami, Florida 33131
   One Biscayne Tower, Suite 1776                         Tel: (305) 379-3686
   2 South Biscayne Boulevard                             Fax: (305) 379-3690
   Miami, Florida 33131                                   Attorneys for Defendant Hatecke Service
   Telephone No.: (305) 373-3016                          USA, LLC
   Facsimile No.: (305) 373-6204
   Attorneys for Plaintiff
   Anthony P. Strasius, Esq.                              Curtis Mase, Esq.
   Florida Bar No.: 988715                                Florida Bar No.: 73928
   Anthony.strasius@wilsonelser.com                       cmase@maselaw.com
   Steven C. Jones, Esq.                                  kfehr@maselaw.com
   Florida Bar No.: 107516                                Cameron W. Eubanks, Esq.
   Steven.jones@wilsonelser.com                           Florida Bar No.: 85865
   Wilson, Elser, Moskowitz,                              ceubanks@maselaw.com
   Edelman & Dicker, LLP                                  rcoakley@maselaw.com
   100 Southeast Second Street, Suite 3800                Adam Finkel
   Miami, Florida 33131                                   Florida Bar No.: 101505


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   Tel: (305) 374-4400                                  afinkel@maselaw.com
   Fax: (305) 579-0261                                  MASE, MEBANE & BRIGGS
   Attorneys for Defendant D-1 Davit                    2601 S. Bayshore, Drive, Suite 800
   International, Inc.                                  Miami, Florida 33133
                                                        Telephone: (305) 377-3770
                                                        Facsimile: (305) 377-0800
                                                        Attorneys for Defendant NCL (Bahamas) Ltd.




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            L I P C O N ,   M A R G U L I E S ,   A L S I N A   &   W I N K L E M A N ,   P . A .
